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      In The United States Court of Federal Claims
                                           No. 06-934L

                                    (Filed: July 15, 2011)
                                         __________

 THE KAW NATION OF OKLAHOMA,

                              Plaintiff,

                       v.

 THE UNITED STATES,

                              Defendant.

                                            _________

                                             ORDER
                                            _________

      A telephonic status conference will be held on Tuesday, July 19, 2011, at 11:00 a.m.
(EDT). Chambers will contact the parties shortly before the scheduled conference time.

       IT IS SO ORDERED.




                                                              s/Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge
